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|N THE UN|TED STATES DlSTR|CT COURT
FOR THE EASTERN DlSTR|CT OF PENNSYLVAN|A

UN|TED STATES OF AMERICA : NO. 15-415
v.
LEAFORD GEORGE CAMERON

DEFEND»¢\\NTl L_EAFORD GEORGE CAMERON'S
RESPONSE TO GOV§RNM§NT’S MOT|ON FOR PROT@T|VE ORDER

1. lt is acknowledged that the Defendant, Leaford George Cameron,
hereinafter referred to as Cameron, was convicted at a trial as set forth herein This
Court oversaw same and is well familiar with the facts of the allegations related thereto.
There is no need to reiterate same for the Court in light of the fact that it has already
issued a sentence in this matter.

2. Admitted.

3. lt is acknowledged that the Government on Friday, September 14, 2018
had discussions with Cameron’s counsel indicating that it wished to have a Protective
Order entered in the case for the information that it would be sending over to the
Defense before the hearing to be held on September 26, 2018. Based on the
Government`s request and in order to facilitate the obtaining of said information,
defense counsel agreed to the conditions that he would only show those documents to
his client and not leave the documents with him which would have information relative to
the substantial claims of former clients. Upon advising Cameron of the fact that
Defense counsel had agreed to such a procedure, Cameron indicated the fact that it
was his position that it was necessary for him to have this information as it was
essential to preparation for the hearing and his ability to respond to these purported

claims As a resultl counsel advised the Government over the weekend that he did not

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have the authorization to enter into the agreement which he had previously executed
and had been filed with the Court. Counse| communicated with this Court’s Courtroom
Deputy to request that it not sign that document which had been submitted under
Docket Entry No. 122. As a result of that occurrence, counsel informed the Government
as it has set forth in its Footnote No. 1 of its Motion.

4. The Government to a certain extent has created its own issue. Certain
personal information that it set forth in the spreadsheets provided didn't necessarily
didn't have to be placed thereon Said information was in all probability injected under a
premise of completeness However, it goes without saying that the vast majority of this
information is known to Cameron as he obviously had relationships with these
individuals over the years lt is acknowledged by Cameron that he is in prison.
However. there can be safeguards imposed should the Court have any reservations
about Cameron having continual access to this information in order to prepare himself
and counsel for the upcoming Hearing.

4. (sic) Due to the events of the weekend, the Government has attempted to
redact certain aspects of the spreadsheet provided. Unfortunately, because it is
redacted to such an extent, it makes the information set forth therein totally meaningless
and will not assist the defense in preparing for the preparation of the upcoming Hearing.

5. By granting the relief sought by the Government, it will create further
issues for the Defense in adequately preparing for the Restitution l-tearing and may well
require a request for an extension of time in order to pursue any other avenues in the

review of the materials presented Again, Cameron believes that there are procedures

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in the prison would protect the interests of the individuals identified in these documents
and thus not create the issue about which the Government is concerned about.

6. lt is agreed that the Court has such powers

7. lt is acknowledged that the courts under certain circumstances are
authorized to protect information relative to certain aspects of a criminal prosecution.
Recent|y, it appears as a regular course in most criminal cases that the Government
seeks protective orders when it provides discovery information under the premise of
continuing investigations This is not what is the case in the matter sub judice, but
rather related to the purported victims and personal verifying information relative to
them.

8. Cameron’s counsel accepts the representation made by the Government
about the documents which has been provided to him in an un-redacted fashion As
indicated previously, because of the change in circumstances as to its original
submission to Defense oounsel, counsel has taken the position that it should not be
reviewing that information at this time because he was provided under a belief of a
specific premise and that premise presently does not exist.

9. lt is acknowledged that over a period of time, the Federal Courts
throughout this country have entered protective orders relative to information that is
provided to the defense as well as certain conditions and qualifiers as to its use and
dissemination However the vast majority of those requests deal with issues of
personal safety from harm relative to individual cases should the information become

public knowledge Not every case warrants the redaction of information relative to

witnesses and/or victims

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10. Again, it is acknowledged that courts have the power to tailor protective
orders to address certain specific concerns However in the case sub judice, these
concerns are not necessarily justified and required under the circumstances as it
pertains to this particular individual lt might be more pertinent in a case where a
defendant was charged with identity theft of individuals and this information was being
provided to that particular defendant who in the past has shown a history a lack of
respect to individua|s' identifying characteristics That’s not what this individual has
been convicted.

11. Agreed. Counsel objects to this Protective Order and advises the Court
that it will hamper the defenses ability to fully prepare for the Hearing coming up next
week as well as intrude on Cameron’s rights to be confronted with information from
accusers and knowiedgably respond thereto having had a history with certain
individuals that he probably will not be able to identify without the information that the
Government has provided apparently on these forms

WHEREFORE, Defendant, LEAFORD GEORGE CAMERON, respectfully
requests that the Government’s Motion for Protective Order Pursuant to Rule 16(d)(1)
be DEN|ED.

Respectfully Submitted,

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CHRISTOPHER G. FURLO
Attorney for Defendant,
Leaford George Cameron

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|, CHR|STOPHER G. FURLONG, ESQU|RE, counsel for the Defendant,
LEAFORD GEORGE CAMERON, hereby certify that | served a true and correct copy of
Defendant‘s Response to Government’s Nlotion for Protective Order upon the following
and in the following manner:
Via Emai| and ECF Filing:

Mary E. Craw|ey

Assistant United States Attorney
United States Attorney’s Office
615 Chestnut Street, Suite 1250
Philadelphia PA 19106

(215) 861-8519
marv,crawlevZ@usdoi.qov

 

Via Mail:
Leaford George Cameron
lD #72386~066
Federal Detention Center
P.O. Box 562
Philadelphia, PA 19106
9118!18
DATE CHR|STOPHER G. FURLONG, ESQUIRE

